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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Jeffrey Culbreath,

                                  Plaintiff,
                                                                    17 cv 3406 (KMK)
                      -against-
                                                           ORDER GRANTING PRO BONO
 Thomas Griffin, et al.,                                           COUNSEL

                                  Defendants.

Lisa M. Smith, United States Magistrate Judge:

       The Court directs that the Clerk of Court seek pro bono counsel to enter a limited

appearance for the purpose of conducting discovery in the above-captioned action. Counsel will

file a Notice of Limited Appearance as Pro Bono Counsel.

                                        LEGAL STANDARD

       The in forma pauperis statute provides that the courts “may request an attorney to

represent any person unable to afford counsel.” 28 U.S.C. § 1915(e)(1). Unlike in criminal cases,

in civil cases, there is no requirement that courts supply indigent litigants with counsel. Hodge v.

Police Officers, 802 F.2d 58, 60 (2d Cir. 1986). Instead, the courts have “broad discretion” when

deciding whether to seek pro bono representation for a civil litigant. Id. Even if a court does

believe that a litigant should have a free lawyer, under the in forma pauperis statute, a court has

no authority to “appoint” counsel, but instead, may only “request” that an attorney volunteer to

represent a litigant. Mallard v. U.S. Dist. Court for the S. Dist. of Iowa, 490 U.S. 296, 301–310

(1989). Moreover, courts do not have funds to pay counsel in civil matters. Courts must therefore

request the services of pro bono counsel sparingly, and with reference to public benefit, in order

to preserve the “precious commodity” of volunteer-lawyer time for those litigants whose causes

are truly deserving. Cooper v. A. Sargenti Co., Inc., 877 F.2d 170, 172-73 (2d Cir. 1989).
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       In Hodge, the Second Circuit Court of Appeals set forth the factors a court should

consider in deciding whether to grant a litigant’s request for pro bono counsel. 802 F.2d at 61-62.

Of course, the litigant must first demonstrate that he or she is indigent, for example, by

successfully applying for leave to proceed in forma pauperis. The court must then consider

whether the litigant’s claim “seems likely to be of substance” – “a requirement that must be taken

seriously.” Id. at 60–61. If these threshold requirements are met, the court must next consider

such factors as:

       the indigent’s ability to investigate the crucial facts, whether conflicting evidence
       implicating the need for cross-examination will be the major proof presented to
       the fact finder, the indigent’s ability to present the case, the complexity of the
       legal issues[,] and any special reason in that case why appointment of counsel
       would be more likely to lead to a just determination.

Id.; see also Cooper, 877 F.2d at 172 (listing factors courts should consider, including litigant’s

efforts to obtain counsel). In considering these factors, district courts should neither apply bright-

line rules nor automatically deny the request for counsel until the application has survived a

dispositive motion. See Hendricks v. Coughlin, 114 F.3d 390, 392-93 (2d Cir. 1997). Rather, each

application must be decided on its own facts. See Hodge, 802 F.2d at 61.

                                           DISCUSSION

       Plaintiff filed a Request to Proceed in Forma Pauperis (IFP), which the Court granted.

(See Order dated May 23, 2017, ECF No. 5.) Plaintiff therefore qualifies as indigent.

       In the complaint, Plaintiff asserts a claim under Title 42, Section 1983, alleging that his

rights to be free from excessive force by corrections authorities, and to be free from deliberate

indifference to his medical needs, were violated. The Court finds that Plaintiff’s claim is “likely

to be of substance.” Hodge, 802 F.2d 61-62. The Court finds that the other Hodge factors also

weigh in favor of granting Plaintiff’s application. Proving his allegations will require discovery,

including potentially depositions of other inmates and corrections employees present during the


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incidents, which plaintiff would be unable to undertake. Additionally, some of the important

documentation in the case would not be available to plaintiff because he is an inmate and

provision of the information would present an issue of institutional safety; by contrast, counsel

would be able to have access to the documentation under a strict confidentiality order. In this

case, representation would “lead to a quicker and more just result by sharpening the issues and

shaping examination.” Hodge, 802 F.2d at 61.

       Given the early stage of the proceedings, the Court will request that counsel appear for

the limited purpose of conducting discovery and advising plaintiff with regard to settlement.

Necessary discovery will include requesting and reviewing substantial documentation; deposing

the defendants and other possible witnesses, including, potentially, other corrections employees

and inmates; defending plaintiff’s deposition; and engaging a medical expert to review plaintiff’s

medical records. Counsel is authorized to engage in additional discovery, as deemed appropriate.

In addition, pro bono counsel may engage in settlement discussions.

       Under the Court’s Standing Order regarding the Creation and Administration of the Pro

Bono Fund (16-MC-0078), pro bono counsel may apply to the Court for reimbursement of

certain out-of-pocket expenses spent in furtherance of Plaintiff’s case. The Pro Bono Fund is

especially intended for attorneys for whom pro bono service is a financial hardship. See

http://www.nysd.circ2.dcn/docs/prose/pro_bono_fund_order.pdf.

       Pro bono counsel will not be obligated for any aspect of Plaintiff’s representation beyond

the matters described in this order. In particular, pro bono counsel will not be required to respond

to a dispositive motion. In the event that the defendant(s) file(s) a dispositive motion, pro bono

counsel may seek appropriate relief, including an extension of Plaintiff’s time to respond, or an

expansion of pro bono counsel’s role to include responding to the motion. Absent an expansion




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 of the scope of pro bono counsel’s representation, pro bono counsel’s representation of Plaintiff

 will end upon completion of discovery.

         Upon the filing by pro bono counsel of a Notice of Completion, the representation by pro

 bono counsel of Plaintiff in this matter will terminate, and pro bono counsel will have no further

 obligations or responsibilities to Plaintiff or to the Court in this matter.

                                            CONCLUSION

         For the foregoing reasons, the Clerk of Court is directed to attempt to locate pro bono

 counsel to represent Plaintiff for the limited purposes described above. The Court advises

 Plaintiff that there are no funds to retain counsel in civil cases and the Court relies on volunteers.

 Due to a scarcity of volunteer attorneys, a lengthy period of time may pass before counsel

 volunteers to represent Plaintiff. If an attorney volunteers, the attorney will contact Plaintiff

 directly. There is no guarantee, however, that a volunteer attorney will decide to take the case,

 and plaintiff should be prepared to proceed with the case without an attorney.

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this Order would

 not be taken in good faith and therefore IFP status is denied for the purpose of an appeal. See

 Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

 SO ORDERED.

  Dated:    May 2, 2018
            White Plains, New York

                                                                     Lisa M. Smith
                                                             United States Magistrate Judge

A copy of this Order has been mailed by
Chambers to Pro Se Plaintiff.




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